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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     LPL FINANCIAL, LLC,                               Case No. 22-mc-80004-SI
                                   8                     Plaintiff,
                                                                                           ORDER ADOPTING REPORT AND
                                   9              v.                                       RECOMMENDATION CONFIRMING
                                                                                           ARBITRATION AWARD
                                  10     BRADLEY EVERETT GARDNER,
                                                                                           Re: Dkt. No. 15
                                  11                     Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          On April 15, 2022, Magistrate Judge Ryu issued a Report and Recommendation in the

                                  14   above-captioned case. Dkt. No. 15. Judge Ryu recommends granting LPL Financials’ motion

                                  15   requesting confirmation of an arbitration award issued in LPL Financial’s favor against Bradley

                                  16   Everett Gardner. The underlying dispute arose from Gardner owing money to LPL Financial under

                                  17   a “Term Commitment Note” and “Representative Agreement.” Id. at 2-3. Pursuant to arbitration

                                  18   provisions in both agreements, an arbiter ruled in LPL Financial’s favor on March 19, 2021,

                                  19   awarding $94,591.01 in “compensatory damages” in addition to various interest payments, costs,

                                  20   and attorneys’ fees. Id. at 3.

                                  21          Although Gardner was properly served with process throughout the arbitration, he did not

                                  22   file an initial answer or a subsequent appeal or objection to the arbitrator’s decision. Nor did

                                  23   Gardner later apply to any court of competent jurisdiction to modify, correct, or vacate the

                                  24   arbitration award pursuant to 9 U.S.C. § 10 or Cal. Code Civ. Proc. § 1285. But on April 26, 2022,

                                  25   Gardner objected to Judge Ryu’s Report and Recommendation, stating he “did not sign” the Term

                                  26   Commitment Note nor receive money under the Representative Agreement. Dkt. No. 18.

                                  27          “In reviewing an arbitral award, ‘courts do not sit to hear claims of factual or legal error by

                                  28   an arbitrator as an appellate court does in reviewing decisions of lower courts.’” S. Cal. Gas Co. v.
                                           Case 3:22-mc-80004-SI Document 22 Filed 05/31/22 Page 2 of 2




                                   1   Util. Workers Union of Am., Local 132, AFL–CIO, 265 F.3d 787, 792 (9th Cir. 2001) (alterations

                                   2   omitted). A federal court “must confirm an arbitration award ‘unless the award is vacated, modified,

                                   3   or corrected as prescribed in section 10 and 11 of [the Federal Arbitration Act].” Parkridge Ltd. v.

                                   4   Indyzen, Inc., No. 16-CV-07387-JSW, 2020 WL 12834398, at *2 (N.D. Cal. Mar. 2, 2020) (citing

                                   5   9 U.S.C. § 9). The argument raised in Gardner’s objection is solely factual – it does not rest on any

                                   6   of the grounds enumerated in 9 U.S.C. §§ 10 or 11. The objection thus fails to provide a proper

                                   7   basis to withhold confirmation of the award.         The Court has also reviewed the declaration

                                   8   accompanying LPL Financial’s response, and concludes, based on the submitted materials, that there

                                   9   is no merit to Gardner’s factual objection.

                                  10          The Court thus ADOPTS the Report and Recommendation and GRANTS LPL Financial’s

                                  11   motion to confirm the arbitration award.

                                  12
Northern District of California
 United States District Court




                                  13          IT IS SO ORDERED.

                                  14   Dated: May 31, 2022

                                  15                                                   ______________________________________
                                                                                       SUSAN ILLSTON
                                  16                                                   United States District Judge
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